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 JOHN E.LONEW OLF,
           Plaintiff                         CivilA ction N o.5:18cv00004


 SGT.STEVE GARRETT,                          By:H on.M ichaelF.U rbansld
                                                 ClliefUnited StatesDistrictJudge
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